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  Names
    Name
    Type            Name

    Conviction       LEEK, KENNETH D

    True             LEEK, KENNETH
                     DONALE

    Alias            YELLOW JACK,

    Alias            YELLOW JACKET,
                     LITTLE JACK YJ




  Birthdates                                      (/kasper/search/image?                  (/kasper/search/image?
                                                  kdocNumber=0063523&imageNumber=1)       kdocNumber=0063523&imageNumber=2)
    Birthdate Type         Birthdate             Age
                                                           LEEK, KENNETH D                        LEEK, KENNETH D
    True                   Aug 18, 1975          47        Approx Picture Date                    Approx Picture Date

                                                                2014-05-23                              2014-05-23

  Demographics
    Eye Color       Hair Color          Height    Weight    Gender    Race

    Brown            Black              5'-9"     212       Male      Black




  Current Status reported by Dept. of Corrections
   Work or Program Participation    Not Working

   Earliest Possible Release Date (1)    Jan 01, 2023

   Current Status   Incarcerated

   Admission Date     Aug 08, 1996

   Current Location (2)    El Dorado CF-Central (http://www.doc.ks.gov/facilities/edcf)
   Custody Level    Special Management

  (1) This date could be affected by a parole board decision or good time and/or program credit.
  (2) Click on Location for the Facility web site.




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  Convictions
                                                                           Criminal                       Crime      Case
                     Case               Offense      Sentencing            Conviction                     Severity   Status
    County           Number (I)         Date         Date          ACS     Description           Counts   Level      (II)     State

    Wyandotte        95CR2427A          Dec 05,       Jul 31,      N/A      Murder in the         1       Off Grid   Active   KS
                                        1995          1996                  First Degree


  (I) If Number includes JV : Extended juvenile jurisdiction adjudications with adult prison sentences stayed, then imposed.
  (II) If Status includes * : Denotes Active for Post Release Supervision Only.




  KDOC Physical Location History(s)
    Location                        Movement Date          Movement Reason

    El Dorado CF-Central            Jun 28, 2022           Inter-Facility Movement

    Lansing CF-Central              Jun 21, 2022           Inter-Facility Movement

    El Dorado CF-Central            Apr 12, 2022           Inter-Facility Movement

    Lansing CF-Central              Apr 28, 2021           Inter-Facility Movement

    Hutchinson CF-Central           Jul 31, 2019           Inter-Facility Movement

    Hutchinson CF-East              Sep 26, 2017           Inter-Facility Movement

    Hutchinson CF-Central           Apr 12, 2017           Inter-Facility Movement

    El Dorado CF-Central            Jul 08, 2014           Inter-Facility Movement

    Lansing CF-Central              Nov 01, 2011           Inter-Facility Movement

    El Dorado CF-Central            Mar 20, 2007           Inter-Facility Movement

    Norton CF-Central               Sep 05, 2006           Inter-Facility Movement

    Ellsworth CF                    Aug 29, 2006           Inter-Facility Movement

    Norton CF-Central               Jul 25, 2006           Inter-Facility Movement

    Ellsworth CF                    Mar 01, 2005           Inter-Facility Movement

    El Dorado CF-Central            Jan 17, 2003           Inter-Facility Movement

    Hutchinson CF-Central           Jan 13, 1999           Inter-Facility Movement

    Lansing CF-Central              Aug 27, 1996           Inter-Facility Movement


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    Location                        Movement Date         Movement Reason

    Topeka CF-RDU                   Aug 08, 1996          New Court Commitment




  Completed Programs
    Name                          Completion Date

    Utilities Maintenance         Mar 03, 2000




  KDOC Disciplinary Report(s) since January 1996
    Date                 Class      Location                                   Type of report

    Feb 04, 2022         1          Lansing Correctional Facility - Central    Disobeying Orders

    Nov 04, 2020         1          Hutchinson Correctional Fac. - Central     Possession UnAuth Commo Device

    Nov 04, 2020         1          Hutchinson Correctional Fac. - Central     Viol Statutes (Felony Crime)

    Nov 21, 2019         2          Hutchinson Correctional Fac. - Central     Restr Area/Unauth Presence

    Jul 26, 2019         2          Hutchinson Correctional Facility - East    Restr Area/Unauth Presence

    Jul 24, 2019         2          Hutchinson Correctional Facility - East    Regis. & Use of Pers. Property

    Jul 24, 2019         2          Hutchinson Correctional Facility - East    Less Dangerous Contraband

    Jul 19, 2019         1          Hutchinson Correctional Facility - East    Threaten or Intim Any Person

    Jul 19, 2019         2          Hutchinson Correctional Facility - East    Insub/Disrespect Officer/Other

    Jun 02, 2016         2          El Dorado Correctional Fac. - Central      Violation of Published Orders

    Jan 28, 2015         2          El Dorado Correctional Fac. - Central      Less Dangerous Contraband

    Aug 15, 2014         1          El Dorado Correctional Fac. - Central      Dangerous Contraband

    Jun 15, 2014         1          Lansing Correctional Facility - Central    Dangerous Contraband

    Apr 24, 2014         1          Lansing Correctional Facility - Central    Threaten or Intim Any Person

    Apr 24, 2014         2          Lansing Correctional Facility - Central    Restriction

    Mar 21, 2014         2          Lansing Correctional Facility - Central    Restriction

    Mar 21, 2014         3          Lansing Correctional Facility - Central    Improper Use of Food



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    Date                 Class      Location                                      Type of report

    Nov 10, 2013         1          Lansing Correctional Facility - Central       Dangerous Contraband

    Nov 10, 2013         1          Lansing Correctional Facility - Central       Dangerous Contraband

    Jun 30, 2013         1          Lansing Correctional Facility - Central       Possession UnAuth Commo Device

    Jul 06, 2012         2          Lansing Correctional Facility - Central       Mail

    Jul 03, 2012         1          Lansing Correctional Facility - Central       Dangerous Contraband

    Jul 03, 2012         1          Lansing Correctional Facility - Central       Viol Statutes (Felony Crime)

    Jan 16, 2012         3          Lansing Correctional Facility - Central       Radios,TV Musical Instr. Other

    Apr 07, 2010         2          El Dorado Correctional Fac. - Central         Less Dangerous Contraband

    Nov 28, 2007         3          El Dorado Correctional Fac. - Central         Violation of Published Orders

    Nov 21, 2007         1          El Dorado Correctional Fac. - Central         Disobeying Orders

    Mar 04, 2007         1          Norton Correctional Facility - Central        Disobeying Orders

    Feb 23, 2007         3          Norton Correctional Facility - Central        Improper Use of Food

    Aug 09, 2006         3          Norton Correctional Facility - Central        Answering Calls or Passes

    Aug 09, 2006         3          Norton Correctional Facility - Central        Answering Calls or Passes

    Jun 04, 2006         3          Ellsworth Correctional Facility               Improper Use of Food

    Jan 24, 2006         3          Ellsworth Correctional Facility               Restr Area/Unauthor Presence

    Jan 12, 2006         3          Ellsworth Correctional Facility               Restr Area and Unauth Presence

    Nov 16, 2005         2          Ellsworth Correctional Facility               Unauthorized Dealing or Trade

    Jul 05, 2005         2          Ellsworth Correctional Facility               Insub/Disrespect Officer/Other

    Jan 01, 2005         3          El Dorado Correctional Fac. - Central         Care of Living Quarters

    Nov 17, 2002         1          Hutchinson Correctional Fac. - Central        Dangerous Contraband

    Nov 17, 2002         2          Hutchinson Correctional Fac. - Central        Regis. & Use of Pers. Property

    Mar 15, 2001         3          Hutchinson Correctional Fac. - Central        Violation of Published Orders

    Jan 24, 2001         2          Hutchinson Correctional Fac. - Central        Less Dangerous Contraband

    Oct 25, 2000         2          Hutchinson Correctional Fac. - Central        Gambling and Bookmaking

    Jun 22, 2000         2          Hutchinson Correctional Fac. - Central        Regis. & Use of Pers. Property

    Jun 22, 2000         2          Hutchinson Correctional Fac. - Central        Taking W/O Permission



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    Date                 Class      Location                                   Type of report

    Apr 10, 1999         2          Hutchinson Correctional Fac. - Central     Regis. & Use of Pers. Property

    Mar 26, 1999         2          Hutchinson Correctional Fac. - Central     Interf W/Cell Oper/Visibility

    Nov 24, 1998         2          Lansing Correctional Facility - Central    Unauthorized Dealing or Trade

    May 15, 1998         1          Lansing Correctional Facility - Central    Disobeying Orders

    May 15, 1998         2          Lansing Correctional Facility - Central    Misconduct in Dining Room

    May 11, 1998         3          Lansing Correctional Facility - Central    Restr Area/Unauthor Presence

    May 09, 1998         1          Lansing Correctional Facility - Central    Disobeying Orders

    Feb 04, 1998         2          Lansing Correctional Facility - Central    Insub/Disrespect Officer/Other

    Dec 17, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Dec 17, 1997         2          Lansing Correctional Facility - Central    Insub/Disrespect Officer/Other

    Oct 08, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Oct 08, 1997         3          Lansing Correctional Facility - Central    Restr Area and Unauth Presence

    Oct 07, 1997         2          Lansing Correctional Facility - Central    Unauthorized Dealing or Trade

    Oct 07, 1997         1          Lansing Correctional Facility - Central    Fighting

    Oct 07, 1997         2          Lansing Correctional Facility - Central    Insub/Disrespect Officer/Other

    Sep 29, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Sep 29, 1997         3          Lansing Correctional Facility - Central    Restr Area and Unauth Presence

    Sep 27, 1997         3          Lansing Correctional Facility - Central    Restr Area/Unauthor Presence

    Sep 19, 1997         2          Lansing Correctional Facility - Central    Violation of Published Orders

    Sep 12, 1997         2          Lansing Correctional Facility - Central    Restr Area/Unauth Presence

    Aug 21, 1997         1          Lansing Correctional Facility - Central    Dangerous Contraband

    Aug 16, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Aug 16, 1997         2          Lansing Correctional Facility - Central    Insub/Disrespect Officer/Other

    Aug 08, 1997         3          Lansing Correctional Facility - Central    Restr Area/Unauthor Presence

    Jul 19, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Jun 22, 1997         1          Lansing Correctional Facility - Central    Fighting

    Jun 22, 1997         1          Lansing Correctional Facility - Central    Interference W/Official Duties



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    Date                 Class      Location                                   Type of report

    Jun 14, 1997         3          Lansing Correctional Facility - Central    Restr Area/Unauthor Presence

    May 24, 1997         3          Lansing Correctional Facility - Central    Restr Area and Unauth Presence

    May 22, 1997         2          Lansing Correctional Facility - Central    Debt Adj or Collection Proh.

    Apr 24, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Apr 24, 1997         2          Lansing Correctional Facility - Central    Work Performance

    Apr 21, 1997         1          Lansing Correctional Facility - Central    Disobeying Orders

    Feb 05, 1997         3          Lansing Correctional Facility - Central    Violation of Published Orders

    Jan 11, 1997         3          Lansing Correctional Facility - Central    Restr Area and Unauth Presence

    Nov 19, 1996         2          Lansing Correctional Facility - Central    Restr Area/Unauth Presence

    Oct 11, 1996         2          Lansing Correctional Facility - Central    Disruptive Behavior




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